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                       UNITED STATES COURT OF APPEALS                       FILED
                               FOR THE NINTH CIRCUIT                         SEP 10 2018
                                                                         MOLLY C. DWYER, CLERK
                                                                          U.S. COURT OF APPEALS
  MS. L. and MS. C.,                              No.    18-56151

                   Petitioners-Appellees,         D.C. No.
                                                  3:18-cv-00428-DMS-MDD
   v.                                             Southern District of California,
                                                  San Diego
  U.S. IMMIGRATION AND CUSTOMS
  ENFORCEMENT; et al.,                            ORDER

                   Respondents-Appellants.

        Appellants’ unopposed motion (Docket Entry No. 5) to stay appellate

  proceedings is granted. The previously established briefing schedule is vacated.

        Appellate proceedings are stayed until November 9, 2018.

        On or before November 9, 2018, appellants may file a status report and

  motion for further relief.

        Failure to file a status report and motion will terminate the stay of appellate

  proceedings and the briefing schedule will be reset.


                                                   FOR THE COURT:

                                                   MOLLY C. DWYER
                                                   CLERK OF COURT

                                                   By: Kara Slack
                                                   Deputy Clerk
                                                   Ninth Circuit Rule 27-7
